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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order inmzossres

POSTAL SERVICE ¢

 

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

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Political and/or Election Mail. District: _(_/ “ / (_4/¢ Name: EGC LO
Title: | )S> Phone #:__ | a4
Check bax Section/Operation: iciliaaiaens
when checked Defines the work area to be searched. Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

| incoming dock
[A BMEU & BMEU Plant Staging
: Opening units
[7 AO / Station dispatch area
[4 Outbound dock
[| Outgoing Dispatch Area
[G Traiiers in yard (Yard Check) 7
[4 MTE Plant Staging Area
7] MTE trailers
CI Site MTESC p7/ iO
ie] PARS Staging and Operations
[4 Rewrap Operations
ae CFS (if applicable) 7
[| BRM/Postage Due pf TA

 

 

 

 

 

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